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             United States Court of Appeals
                           For the First Circuit


 Nos. 19-1582
      19-1625
                               UNITED STATES,

                                  Appellant,

                                      v.

                    NIA MOORE-BUSH, a/k/a Nia Dinzey,

                            Defendant, Appellee.


 Nos. 19-1583
      19-1626
                               UNITED STATES,

                                  Appellant,

                                      v.

                                DAPHNE MOORE,

                            Defendant, Appellee.


             APPEALS FROM THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

             [Hon. William G. Young, U.S. District Judge]


                                    Before

                           Howard, Chief Judge,
                    Lynch and Barron, Circuit Judges.


      Randall E. Kromm, Assistant United States Attorney, with whom
 Andrew E. Lelling, United States Attorney, was on brief, for
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 appellant.
      Judith H. Mizner, Assistant Federal Public Defender, for
 appellee Nia Moore-Bush, a/k/a Nia Dinzey.
      Linda J. Thompson, with whom John M. Thompson and Thompson &
 Thompson, P.C. were on brief, for appellee Daphne Moore.
      Matthew R. Segal, Jessie J. Rossman, Kristin M. Mulvey,
 American Civil Liberties Union Foundation of Massachusetts, Nathan
 Freed Wessler, Brett Max Kaufman, and American Civil Liberties
 Union Foundation on brief for American Civil Liberties Union and
 American Civil Liberties Union of Massachusetts, amici curiae.
      Trisha B. Anderson, Alexander A. Berengaut, Jadzia Pierce,
 and Covington & Burling LLP on brief for Center for Democracy &
 Technology, amicus curiae.


                                June 16, 2020
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             LYNCH, Circuit Judge.       This appeal by the prosecution

 raises the question of whether the Supreme Court's opinion in

 Carpenter v. United States, 138 S. Ct. 2206 (2018), a cell phone

 location automatic tracking technology case, provides a basis for

 departing from otherwise binding and factually indistinguishable

 First Circuit precedent in United States v. Bucci, 582 F.3d 108

 (1st Cir. 2009), and Supreme Court precedent, including Katz v.

 United States, 389 U.S. 347 (1967), on which Bucci is based.               In

 departing from that precedent and suppressing evidence obtained

 from a pole camera, the district court erred by violating the

 doctrine of stare decisis.

             Under the doctrine of stare decisis, all lower federal

 courts must follow the commands of the Supreme Court, and only the

 Supreme Court may reverse its prior precedent.                The Court in

 Carpenter    was   concerned    with   the   extent   of   the   third-party

 exception to the Fourth Amendment law of reasonable expectation of

 privacy and not with the in-public-view doctrine spelled out in

 Katz and involved in this case.

             Carpenter was explicit: (1) its opinion was a "narrow"

 one, (2) it does not "call into question conventional surveillance

 techniques and tools," and (3) such conventional technologies

 include "security cameras."       Carpenter, 138 S. Ct. at 2220.        Pole

 cameras are a conventional surveillance technique and are easily




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 thought to be a species of surveillance security cameras.                    Thus,

 Carpenter, by its explicit terms, cannot be used to overrule Bucci.

             The district court erred for other separate reasons as

 well.    The Bucci decision firmly rooted its analysis in language

 from previous Supreme Court decisions, including Katz, Smith v.

 Maryland, 442 U.S. 735 (1979), California v. Ciraolo, 476 U.S. 207

 (1986), and Kyllo v. United States, 533 U.S. 27 (2001).                      Bucci,

 582 F.3d at 116-17.          The Court in Carpenter was clear that its

 decision does not call into question the principles Bucci relied

 on from those cases.         Carpenter, 138 S. Ct. at 2213-19.

             The   district     court    also   transgressed     a    fundamental

 Fourth Amendment doctrine not revoked by Carpenter, that what one

 knowingly    exposes    to    public   view    does   not   invoke    reasonable

 expectations of privacy protected by the Fourth Amendment.                    This

 understanding, as explained by Justice Scalia in Kyllo, was part

 of the original understanding of the Fourth Amendment at the time

 of its enactment.      Kyllo, 533 U.S. at 31-32.

             Affirming    the     district      court's      order    would     mean

 violating the law of the circuit doctrine, that "newly constituted

 panels in a multi-panel circuit court are bound by prior panel

 decisions that are closely on point."            San Juan Cable LLC v. P.R.

 Tel. Co., 612 F.3d 25, 33 (1st Cir. 2010).            Although there are two

 exceptions to the doctrine, "their incidence is hen's-teeth-rare."

 Id.   And neither exception is applicable here.


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              The argument made in support of the district court's

 suppression order is that the logic of the opinion in Carpenter

 should be extended to other technologies and other Fourth Amendment

 doctrines, and this extension provides a basis to overturn this

 circuit's earlier precedent in Bucci.             Nothing in Carpenter's

 stated "narrow" analysis triggers the rare second exception to the

 law of the circuit doctrine.        Carpenter, 138 S. Ct. at 2220.

              The defendants thus ask us to violate the vertical rule

 of stare decisis, that all lower federal courts must follow the

 commands of the Supreme Court and that only the Supreme Court may

 reverse its prior precedent, and the law of the circuit, binding

 courts to follow circuit precedent.         See Bryan A. Garner et al.,

 The Law of Judicial Precedent 21-43 (2016). Affirming the district

 court would also violate the original understanding of the Fourth

 Amendment.

                                      I.

 A.    The Investigation and Indictments

              The following facts are undisputed.          Following a tip

 from a cooperating witness ("CW"), the Bureau of Alcohol, Tobacco,

 Firearms, and Explosives ("ATF") began investigating defendant Nia

 Moore-Bush in January 2017 for the unlicensed sale of firearms.

 About a month into the investigation, in February 2017, Moore-Bush

 and her then-boyfriend, later-husband, Dinelson Dinzey moved in

 with Moore-Bush's mother, defendant Daphne Moore, at 120 Hadley


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 Street   in    Springfield,   Massachusetts,    in   a   quiet   residential

 neighborhood.     At the time, Moore was a lawyer and Assistant Clerk

 Magistrate for the Hampden County, Massachusetts, Superior Court.

 Moore-Bush and Dinzey lived at the property "off and on" for the

 period relevant to this appeal.

               The government had evidence that 120 Hadley Street,

 Moore's property, was the site of illegal activity even before

 installation of the pole camera.        For example, on May 5, 2017, the

 CW, acting on the government's orders, wore a recording device and

 purchased four guns illegally from Moore-Bush, through Dinzey, at

 that location.

               Approximately two weeks later, on or about May 17, 2017,

 ATF installed a camera towards the top of the public utility pole

 across the public street from the unfenced-in house at 120 Hadley

 Street (the "pole camera").        The record is silent as to whether

 the camera was visible.        The camera was used until mid-January

 2018, when Moore-Bush and Dinzey were arrested.          Investigators did

 not seek any judicial authorization to install the pole camera and

 did not need to do so under the law at that time in May of 2017.

 The images from the pole camera captured one side of the front of

 Moore's house.     The camera did not capture the house's front door;

 it did show the area immediately in front of the side door, the

 attached garage, the driveway to the garage, part of the lawn, and

 a portion of the public street in front of the house.             A tree in


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 the front yard, when it had leaves, partially obstructed the

 camera's view.

             The government also from time to time had investigators

 conduct physical surveillance of these same areas, and presumably

 more areas, from the public street.          Those surveillance officers

 could see everything the pole camera could see, and even more.

 The tree, when it had leaves, did not obstruct their view.                   The

 record is silent as to whether the officers on the street used

 cameras, binoculars, or the like, but during physical surveillance

 they were often close enough to observe and record license plate

 numbers of vehicles in the driveway.

             The   district   court    declined   to    hold      an   evidentiary

 hearing    on   the   technical   capabilities        of   the    pole   camera;

 nonetheless, the following is established by the record.                 The pole

 camera operated 24/7.      Officers could access the video feed either

 live or via recordings.      When they were watching the pole camera's

 live stream, but only then, officers could control the camera's

 zoom, pan, and tilt features remotely, akin to what an observer on

 the street could see with or without visual aids.             The zoom feature

 was powerful enough for officers observing live to read the license

 plates on cars parked in the driveway.           The camera's resolution

 was much lower at night in the darkness.           Regardless of the zoom

 feature, the pole camera could not capture anything happening

 inside of the house.         Everything it captured was visible to a


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 passerby on the street.         The pole camera did not and could not

 capture audio, and so captured no sound, even sounds which could

 be heard on the street.         The record does not indicate what the

 pole camera looked like or its manufacturer.

             The camera did not cover or capture all aspects of life

 at 120 Hadley Street.      According to an affidavit from a government

 investigator appended to one of the wiretap applications, the pole

 camera footage was only of limited use because it captured just a

 portion of the front of the house, was partially obstructed by a

 tree, and had to be monitored live in order to use the zoom feature

 to see faces, license plates, and other details clearly.

             The government used different investigative tools over

 time   to   investigate   Moore-Bush      and   those     thought   to    be   co-

 conspirators at this location, including using a CW and having

 officers conduct physical surveillance of the property.                  Warrants

 were obtained, based in part on the pole camera evidence. Pursuant

 to warrants, law enforcement tracked suspects' locations using

 cell phone location data.          Pursuant to warrants, investigators

 mounted GPS trackers on suspects' vehicles. Pursuant to a warrant,

 officers    searched   the     private    contents   of    Dinzey's      Facebook

 account.      Pursuant    to   court     orders,   officers    installed       pen

 registers and trap and trace devices on several cell phones.                   They

 received judicial authorization to wiretap several phones.                     They

 also listened to consensually recorded jail calls made by Moore's


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 long-time romantic partner, who they believed was also involved in

 illegal activities; looked through discarded trash; and subpoenaed

 financial and other records.

             The pole camera recorded useful evidence throughout its

 duration.     The record shows that officers included evidence from

 the pole camera, along with many other pieces of evidence, in

 successful wiretap and search warrant applications starting in

 July 2017 and continuing throughout the fall and winter.                    This

 usefulness explains the eight-month duration of the use of the

 camera.

             By the end of 2017, the government was prepared to bring

 charges that Moore-Bush and Dinzey were trafficking narcotics from

 Springfield to Vermont, where they would exchange drugs for cash,

 firearms, and other valuables.              A federal grand jury indicted

 Moore-Bush,     Dinzey,    and     three    others   from    Vermont   as    co-

 conspirators, but not the mother Moore, on January 11, 2018, for

 conspiracy to distribute and possess with intent to distribute

 heroin and twenty-eight grams or more of cocaine base, in violation

 of 21 U.S.C. §§ 846 and 841(b)(1)(B)(iii).               Moore-Bush and Dinzey

 were arrested the following day.            The pole camera, which at this

 point had been up for about eight months, was removed soon after

 her arrest, in "mid-January 2018."

             Over   the    course    of     2018,   the   government    gathered

 evidence that Moore was involved in her daughter's drug trafficking


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  scheme, in part based on evidence that Moore-Bush was depositing

  cash from her drug sales into bank accounts in Massachusetts and

  Vermont held by Moore in trust for Moore-Bush. Almost a year after

  the original indictment, on December 20, 2018, the grand jury

  returned a superseding indictment naming Moore-Bush,1 Dinzey, the

  three       Vermont   co-conspirators,       and     adding   three    other     co-

  conspirators and Moore, Moore-Bush's mother.2

                Moore   was   charged   with     one    count   of   conspiracy     to

  distribute and possess with intent to distribute heroin, cocaine,

  and cocaine base, in violation of 21 U.S.C. § 846 (Count One); one

  count of distribution and possession with intent to distribute

  heroin, cocaine, and cocaine base, in violation of 21 U.S.C.

  § 841(a)(1) on November 17, 2017 (Count Three); one count of money



          1 Moore-Bush was charged with one count of conspiracy to
  distribute and possess with intent to distribute heroin, cocaine,
  and 280 grams or more of cocaine base, in violation of 21 U.S.C.
  §§ 846 and 841(b)(1)(A)(iii) (Count One); five counts of
  distribution and/or possession with intent to distribute
  narcotics, in violation of 21 U.S.C. § 841(a)(1) (Counts Two
  through Six); two counts of money laundering conspiracy, in
  violation of 18 U.S.C. § 1956(h) (Counts Seven and Eight); seven
  counts of money laundering, in violation of 18 U.S.C. § 1956(a)(1)
  (Counts Eleven and Fourteen through Nineteen); one count of
  conspiracy to deal firearms without a license, in violation of 18
  U.S.C. § 371 (Count Twenty); two counts of dealing firearms without
  a license, in violation of 18 U.S.C. § 922(a)(1)(A) (Counts Twenty-
  One and Twenty-Two); and one count of aiding and abetting the
  possession of a firearm by a felon, in violation of 18 U.S.C.
  §§ 922(g)(1) and 2 (Count Twenty-Three).
          2 The superseding indictment                 also   removed   one   of   the
  original Vermont co-conspirators.


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  laundering conspiracy in financial transactions in Hampden County,

  Massachusetts,     Washington    County,    Vermont,    and    elsewhere,   in

  violation of 18 U.S.C. § 1956(h) (Count Eight); multiple counts of

  money laundering in those same locations, in violation of 18 U.S.C.

  § 1956(a)(1) with her daughter at T.D. Bank (Counts Fourteen

  through Nineteen); one count of making false statements to federal

  agents around January 12, 2018, in violation of 18 U.S.C. § 1001

  (Count Twenty-Four); and a drug forfeiture charge.

  B.    The Motions to Suppress and District Court Opinion

              On April 22, 2019, Moore moved to suppress the pole

  camera evidence and the fruits of that evidence.            Moore-Bush filed

  a very similar motion on May 2, 2019.         The motions argued that the

  government's use of the pole camera was a search under the Fourth

  Amendment to the United States Constitution that required judicial

  authorization.        They   argued    they   had    both     subjective    and

  objectively reasonable expectations of privacy in "the whole of

  [their] physical movements in and out of [their] home for a period

  of eight months."3     They argued the entire recording over the eight




        3   They did not argue that the government had "physically
  intrud[ed]" onto their property under the "trespass" theory of
  Fourth Amendment searches. See Florida v. Jardines, 569 U.S. 1,
  5 (2013). Indeed, the pole on which the camera was installed was
  a public utility pole across the street from Moore's home and not
  on her property.


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  months was a search, and they did not attempt to define what period

  of time the government might legally have recorded them, if any.

              Moore-Bush    and    Moore   acknowledged      that   the   Bucci

  decision from this circuit upheld the constitutionality of a pole

  camera that also operated for eight months. They argued that Bucci

  was no longer controlling precedent because "[t]he search and

  seizure landscape, particularly regarding the scope of individual

  privacy rights, has changed considerably since Bucci was decided."

  In particular, they pointed to the Supreme Court case Carpenter v.

  United States.      They also cited Florida v. Jardines, 569 U.S. 1

  (2013), and United States v. Jones, 565 U.S. 400 (2012).             They did

  not argue that the good faith exception could not apply or that

  probable cause did not exist.

              The government opposed the motions to suppress on May 6,

  2019, addressing its arguments to the grounds Moore-Bush and Moore

  asserted in their motions.        It argued that neither defendant had

  shown enough to support a finding of a subjective expectation of

  privacy.    Further, it argued that Bucci was controlling and Bucci

  directly foreclosed any argument that Moore-Bush or Moore had an

  objectively reasonable expectation of privacy in the front of their

  home.    It argued Carpenter did not impact, much less overrule,

  Bucci because Carpenter was a "narrow" decision about cell-site

  location information that did not "call into question conventional

  surveillance techniques and tools, such as security cameras."


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  Carpenter, 138 S. Ct. at 2220.        And the government argued Jardines

  and Jones could not overrule Bucci because those cases primarily

  dealt with physical trespass, which is not at issue in this case.

  The government did not argue at any time that probable cause

  existed for either the installation of the pole camera or its

  eight-month duration.       In its opposition, the government did not

  raise the good faith exception to argue that, regardless, the

  evidence could not be suppressed.

              The district court heard oral argument on the motions on

  March 13, 2019.      On June 4, 2019, it released a memorandum and

  order granting Moore-Bush and Moore's motions to suppress.4                 In

  its order, the court found that both defendants subjectively

  "expected privacy in the whole of their movements over the course

  of eight months from continuous video recording with magnification

  and logging features in the front of their house."            The court held

  that defendants' direct and imputed subjective privacy interests

  were "infer[red]" from their choice to live in a home in a quiet

  suburban neighborhood.       The court reasoned that persons who live

  in quiet suburban neighborhoods have greater privacy interests

  than persons who live in other neighborhoods.

              The court held that Bucci was not controlling because of

  the Supreme Court's decision in Carpenter, which it found freed it


        4   The June 4, 2019, order made minor, non-substantive
  corrections to an otherwise identical order from June 3, 2019.


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  to   reevaluate          the   issue   of    whether      warrantless   pole   camera

  surveillance requires a warrant.                 The district court held that:

  "(1) continuous video recording for approximately eight months;

  (2) focus on the driveway and front of house; (3) ability to zoom

  in so close that [the pole camera] can read license plate numbers;

  and (4) creation of a digitally searchable log" made the use of

  the pole camera a search.              It did not determine if any discrete

  part of the recording was not a search or at what point during the

  duration of the pole camera's recording a warrant was required.

  It simply suppressed the entirety of the pole camera evidence.

                    Since no exception under Davis v. United States, 564

  U.S.       229,    239    (2011),   was     raised   by    the   government    in   its

  opposition to the defendants' suppression motions, the district

  court considered any government argument as to the good faith

  exception to have been waived.                The court suppressed all evidence

  obtained directly by the pole camera, but "[took] no action with

  regard to evidence collected indirectly from the Pole Camera."5

                    The government filed a motion for reconsideration on

  June 4, 2019.            For the first time in the proceedings, it attached

  the specific photos and videos from the pole camera that it




         5  On June 6, 2019, Moore filed a "Renewed Motion for
  Evidentiary Hearing on Derivative Evidence and Suppression of
  Evidence Derived From Fruits of Pole Camera Surveillance," with
  argument on this point. The district court has not ruled on it
  yet because of these appeals.


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  intended to introduce at trial.              Based on those photos and the

  record   as    a   whole,    it   argued     that   the   district   court   had

  inaccurately exaggerated the pole camera's technical capabilities.

  Citing Davis and United States v. Sparks, 711 F.3d 58 (1st Cir.

  2013), for the first time, the government argued that the good

  faith exception to the Fourth Amendment's exclusionary rule should

  apply and permit it to introduce the pole camera evidence even if

  the evidence were unconstitutionally obtained.

                The district court denied the motion for reconsideration

  on June 5, 2019.          On June 6, 2019, the government appealed the

  suppression order. On June 19, 2019, it appealed the order denying

  reconsideration.

                                         II.

  A.    The Doctrine of Stare Decisis Controls This Case

                The doctrine of stare decisis comes from the Latin maxim

  "stare decisis et non quieta movere," meaning "to stand by the

  thing decided and not disturb the calm."             Ramos v. Louisiana, 140

  S. Ct. 1390, 1411 (2020) (Kavanaugh, J., concurring in part). "The

  doctrine of stare decisis renders the ruling of law in a case

  binding in future cases before the same court or other courts owing

  obedience to the decision."        Gately v. Massachusetts, 2 F.3d 1221,

  1226 (1st Cir. 1993).          It "precludes the relitigation of legal

  issues   that      have   previously   been     heard     and   authoritatively

  determined."       Eulitt ex rel. Eulitt v. Me., Dep't of Educ., 386


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  F.3d 344, 348 (1st Cir. 2004) (citing Stewart v. Dutra Constr.

  Co.,   230   F.3d   461,    467    (1st   Cir.   2000)   (subsequent   history

  omitted)).

               The role of stare decisis is to "keep the scale of

  justice even and steady, and not liable to waver with every new

  judge's opinion."          Ramos, 140 S. Ct. at 1411 (Kavanaugh, J.,

  concurring in part) (quoting 1 W. Blackstone, Commentaries on the

  Laws of England 69 (1765)).          It is "a foundation stone of the rule

  of law."     Allen v. Cooper, 140 S. Ct. 994, 1003 (2020) (quoting

  Michigan v. Bay Mills Indian Cmty., 572 U.S. 782, 798 (2014)).

               The doctrine is commonly divided into horizontal and

  vertical precedent.         See Garner et al., supra, at 27.           Vertical

  precedents are decisions in "the path of appellate review," meaning

  Supreme Court decisions control all lower federal courts and

  circuit court decisions control federal district courts in their

  circuits.     Id. at 28 (citing Evan H. Caminker, Why Must Inferior

  Courts Obey Superior Court Precedents?, 46 Stan. L. Rev. 817, 825

  (1994)).       Courts      are    absolutely     bound   to   follow   vertical

  precedents.     Id. at 27.

               The Supreme Court has repeatedly stressed the importance

  of both circuit and district courts faithfully following vertical

  precedent. See Thurston Motor Lines, Inc. v. Jordan K. Rand, Ltd.,

  460 U.S. 533, 535 (1983) (per curiam) ("Needless to say, only this

  Court may overrule one of its precedents."); Hutto v. Davis, 454


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  U.S. 370, 375 (1982) (per curiam), reh'g denied, 455 U.S. 1038

  (1982) ("[U]nless we wish anarchy to prevail within the federal

  judicial system, a precedent of this Court must be followed by the

  lower federal courts no matter how misguided the judges of those

  courts may think it to be."); see also Eberhart v. United States,

  546 U.S. 12, 19-20 (2005) (praising the Seventh Circuit for

  following Supreme Court precedent despite its doubts).

              The law of the circuit doctrine protects horizontal

  precedent, or precedent from the same court, meaning that generally

  "a prior panel decision shall not be disturbed."           United States v.

  Lewko, 269 F.3d 63, 66 (1st Cir. 2001).             The law of the circuit

  doctrine    has     two   recognized,    narrow    exceptions,    but   "their

  incidence is hen's-teeth-rare."          San Juan Cable LLC, 612 F.3d at

  33.   The first exception applies when "the holding of the prior

  panel is 'contradicted by controlling authority, subsequently

  announced.'"      Id. (quoting United States v. Rodríguez, 527 F.3d

  221, 225 (1st Cir. 2008)).6        The second exception, which is even

  more uncommon, applies only in those "rare instances in which

  authority    that    postdates   the    original   decision,     although   not

  directly    controlling,     nevertheless    offers   a   sound   reason    for




        6   No one contends that Carpenter directly overrules prior
  law approving the use of pole cameras by law enforcement without
  obtaining a warrant, the first exception to the law of the circuit
  doctrine.



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  believing that the former panel, in light of fresh developments,

  would change its collective mind."             Id. (quoting Williams v.

  Ashland Eng'g Co., 45 F.3d 558, 592 (1st Cir. 1995) (subsequent

  history omitted)).7

              The respecting of both kinds of precedent is essential

  at all levels in the operation of the federal courts.                    As the

  Supreme Court recently explained, stare decisis "promotes the

  evenhanded,    predictable,     and    consistent   development     of    legal

  principles,     fosters     reliance     on   judicial     decisions,       and

  contributes to the actual and perceived integrity of the judicial

  process."    Kisor v. Wilkie, 139 S. Ct. 2400, 2422 (2019) (quoting

  Payne v. Tennessee, 501 U.S. 808, 827 (1991)).

              The Supreme Court has decided several recent appeals

  based on stare decisis.         In Allen v. Cooper, for instance, the

  Court looked to not only the relevant precedent's narrow legal

  holding but also its method of analysis.          See Allen, 140 S. Ct. at

  1003-07.    And the Court noted that even it, the final court of

  appeal in our judicial system, will not overrule past Supreme Court

  precedent absent a "'special justification' over and above the

  belief 'the precedent was wrongly decided.'"             Id. at 1003.       See

  also Gundy v. United States, 139 S. Ct. 2116, 2123-26 (2019)




        7   Other circuits have an even more restrictive test.                See
  Garner et al., supra, at 492-93.



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  (following the Court's previous interpretation of the Sex Offender

  Registration and Notification Act and therefore finding no non-

  delegation issue); Ramos, 140 S. Ct. at 1390 (discussed more

  below).

  B.    Bucci Built on Supreme Court Case Law and Is Controlling Here

              Bucci is a First Circuit case, decided in 2009, which

  held that the government's use of a pole camera across the street

  from Bucci's home for eight months was not a search because Bucci

  did not have an objectively reasonable expectation of privacy in

  the front of his home.       Bucci, 582 F.3d at 116-17.         That holding

  is on all fours8 with the issue presented in Moore-Bush and Moore's




        8   Bucci is not factually distinguishable from the case at
  hand. Law enforcement officials installed a video camera on the
  utility pole across the street from both defendants' houses.
  Bucci, 582 F.3d at 116.       Both cameras were directed at the
  respective homes' garages and driveways.        Id.   Both cameras
  operated for eight months. Id. Both defendants challenged law
  enforcement's use of a pole camera on Fourth Amendment grounds and
  moved to suppress the evidence obtained from it. Id.
            There are even more factual similarities. Bucci, like
  Moore-Bush and Moore, was implicated in a drug trafficking
  conspiracy.   Id. at 111.     Neither home had fences, gates, or
  shrubbery to block a passerby's view of the garage or driveway
  from the street. Id. at 116-17. We take judicial notice that the
  record in the Bucci case makes clear that the pole camera's footage
  there also could be viewed live and was recorded. Order Denying
  Motion to Suppress, United States v. Bucci, No. 1:03-cr-10220-NMG
  (D. Mass. Dec. 22, 2004), ECF No. 114.       Agents in both cases
  monitored the footage to track the movements of the houses'
  inhabitants and guests. Id.
            The only factual difference of any note between the two
  cases is that law enforcement officers in Bucci were not able to
  zoom, pan, or tilt the camera remotely while they directly viewed
  the images in real time. Bucci, 582 F.3d at 116. The district


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  cases.    That holding in Bucci relied on basic Fourth Amendment

  principles explicated by the Supreme Court in cases stretching

  back decades, and even to the Founders.          Those cases relied on in

  Bucci remain good law today.

              Bucci began its analysis by laying out a legal test first

  established by the Supreme Court in Katz and later formalized in

  Smith v. Maryland, 442 U.S. at 740.         Id. (citing United States v.

  Rodríguez-Lozada, 558 F.3d 29, 37 (1st Cir. 2009)) (explaining

  that a reasonable expectation of privacy must be established before

  a court may reach the merits of a motion to suppress). To establish

  that he had a reasonable expectation of privacy, "Bucci must show

  that 1) he 'has exhibited an actual, subjective expectation of

  privacy' in the area searched; and 2) 'such subjective expectation

  is one that society is prepared to recognize as objectively

  reasonable.'"     Id. (quoting United States v. Rheault, 561 F.3d 55,

  59 (1st Cir. 2009) (itself citing Smith, 442 U.S. at 740)).

              Bucci focused on the second part of the test about "the

  lack of a reasonable objective expectation of privacy because this


  court correctly determined that this distinction is "too thin" to
  distinguish Bucci.
            On appeal, defendants argue that their case is
  distinguishable from Bucci because they have a privacy interest
  "in the whole of their movements over the course of eight months
  from continuous video recording with magnification and logging
  features in the front of their house," while we described Bucci's
  privacy interest as an interest "in the front of his home." Id.
  We reject the attempt to distinguish these two cases merely by
  describing the same privacy interest with different words.


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  failure is so clear."          Id. (citing United States v. Vilches-

  Navarrete, 523 F.3d 1, 14 (1st Cir. 2008)).             It said that "[a]n

  individual does not have an expectation of privacy in items or

  places he exposes to the public," like Bucci's front yard, and

  held that "[t]hat legal principle is dispositive here."                Id. at

  117.

               Bucci based that statement of law on language from three

  Supreme Court cases.      First, it relied on and cited to a principle

  from Katz that "the Fourth Amendment protects people, not places.

  What a person knowingly exposes to the public, even in his own

  home or office, is not a subject of Fourth Amendment protection."

  Id. (quoting Katz, 389 U.S. at 351).         Then Bucci cited to the part

  of the Court's decision in Ciraolo, 476 U.S. at 213, that says,

  "[t]he Fourth Amendment protection of the home has never been

  extended to require law enforcement officers to shield their eyes

  when passing by a home on public thoroughfares."              Id.    Finally,

  Bucci cited to the portion of Kyllo, 533 U.S. at 31-33, that

  discusses the lawfulness of unenhanced visual surveillance of a

  home.9     Id.


         9  The First Circuit cases cited to in Bucci -- Rodríguez-
  Lozada, Rheault, and Vilches-Navarrete -- themselves also relied
  on the Supreme Court's decisions in Smith, Kyllo, and Ciraolo, or
  circuit precedents based on those cases. In each of those cases,
  this court rejected that there was a reasonable expectation of
  privacy as to areas far more private and less accessible to public
  view than the views here, all visible to anyone on the street.
  See Rheault, 561 F.3d at 61 (relying on fact tenant could not


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  C.    Carpenter Directly Prohibits Any Departure from Stare Decisis

               No case from the Supreme Court decided since Bucci,

  including Carpenter, undermines Bucci or the Supreme Court cases

  on which Bucci relied.           To the contrary, Carpenter reaffirms the

  analysis     the   Bucci    court    undertook     by   explicitly   protecting

  conventional surveillance techniques and by repeatedly affirming

  the underlying language from Supreme Court cases which Bucci cited

  and which provided the rationale of the Bucci decision.                Because

  we are strictly bound to apply Supreme Court precedent, this

  language in Carpenter prohibits us and the district court from

  departing from stare decisis.

               The limitations expressed in the Carpenter analyses are

  not   mere   dicta.        We    consider   both   the   language    protecting

  conventional surveillance technology and the reaffirmation of the

  existing Fourth Amendment case law quoted in Bucci to be essential

  to the Court's holding in Carpenter.

               But even if both the analyses and the express limiting

  language were dicta, federal circuit and district courts are not

  free to ignore them.            See United States v. Santana, 6 F.3d 1, 9

  (1st Cir. 1993) ("Carefully considered statements of the Supreme



  exclude other tenants from a third-floor landing in a building);
  Rodríguez-Lozada, 558 F.3d at 37 (stating casual visitor has no
  expectation of privacy as to apartment of another); Vilches-
  Navarrete, 523 F.3d at 14 (holding there is no reasonable
  expectation of privacy in secret apartment under hidden hatch in
  maritime vessel).


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  Court, even if technically dictum, must be accorded great weight

  and should be treated as authoritative when, as in this instance,

  badges of reliability abound."); McCoy v. Mass. Inst. of Tech.,

  950 F.2d 13, 19 (1st Cir. 1991) ("[F]ederal appellate courts are

  bound by the Supreme Court's considered dicta almost as firmly as

  by the Court's outright holdings, particularly when, as here, a

  dictum is of recent vintage and not enfeebled by any subsequent

  statement.");       see    also   Pierre    N.   Leval,   Judging   Under   the

  Constitution: Dicta About Dicta, 81 N.Y.U. L. Rev. 1249, 1250

  (2006) (describing how dicta are "often treated as binding law").

               Even beyond Carpenter's expressly stated limitations,

  Carpenter did not provide cause to question Bucci for a different

  reason.      Carpenter concerned whether the doctrine that there can

  be no reasonable expectation of privacy in information placed in

  the hands of third parties should be extended to the new situation

  of the government obtaining from cellular telephone companies over

  a   period     of   time    cell-site      location   information   ("CSLI").

  Carpenter, 138 S. Ct. at 2211.               CSLI generates a time-stamped

  record of the user's past location whenever a phone accesses the

  wireless network, which, for smartphone users, is often several

  times a minute.      Id.    Carpenter holds that the collection of seven

  days of CSLI constitutes a search within the meaning of the Fourth

  Amendment, but it did not reach the question of the consequences

  of data collection over a shorter period.             Id. at 2217 n.3.


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              Carpenter's limitations unquestionably apply here. Pole

  cameras are conventional, not new, technology.10               They are the

  exact kind of "conventional surveillance technique[]" the Court

  carefully said it was not calling into question.                 Id. at 2220.

  Pole cameras have been mentioned in published decisions in our

  circuit since at least 2003, see United States v. Montegio, 274 F.

  Supp. 2d 190, 201 (D.R.I. 2003), and outside of the circuit since

  at least 1987, see United States v. Cuevas-Sanchez, 821 F.2d 248,

  250-51 (5th Cir. 1987).        This is in sharp contrast to the much

  more recent technology at issue in Carpenter, which was unique to

  "modern"    phones   that   "generate    increasingly     vast    amounts   of

  increasingly precise CSLI."        Carpenter, 138 S. Ct. at 2212.

              Indeed, in common parlance, pole cameras are "security

  cameras."    The Court in Carpenter described "security cameras" as

  a type of a "surveillance technique[]" that the Court's opinion



        10  The district court erred as to the record, doing so in
  service of its conclusion that pole cameras, or at least this pole
  camera, represent a potential new privacy threat. Pole cameras
  are video cameras.      The record does not indicate that the
  "digitally searchable log" the district court relied on is anything
  more than a recording that could be started at different points in
  time, much like VHS tapes. The fact that the camera could zoom,
  pan, and tilt also does not significantly set it apart from pre-
  existing technology, especially since these features were only
  available to officers observing the footage live. Amicus curiae
  the Center for Democracy & Technology warn us that pole cameras
  could be abused in the future if the government were to combine
  them   with   facial   recognition    technology   or    artificial
  intelligence.   But those issues are simply not present in this
  case.


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  did not call into question, a longstanding technique routinely

  deployed by government and private actors alike.            While there may

  be other uses for security cameras, they are clearly used for

  surveillance, and that use was specifically referred to by the

  Court.     Thus, pole cameras are security cameras in the way that is

  relevant for this analysis.11


        11  The district court attempted to distinguish pole
  surveillance cameras from security cameras by arguing that
  security cameras "guard against . . . crime" (alteration in
  original), while pole cameras "investigate suspects."          The
  concurrence attempts to make a similar distinction. Both attempts
  fail, and neither provides any basis to avoid the rule of stare
  decisis. Most neighborhoods, for their own safety and for other
  reasons, do not want crime within their boundaries, and guarding
  against crime involves investigating suspects.     Privately owned
  cameras routinely record property privately owned by others or
  common areas with multiple owners.
            In addition, recordings from privately owned video
  cameras have been used many times in this circuit to prosecute
  people accused of crimes.    See, e.g., United States v. Smiley,
  3:19-CR-00752-RAM, 2019 WL 6529395, at *5 (D.P.R. Dec. 4, 2019)
  (discussing the government's use of footage from a privately owned
  camera installed on a cruise ship to prove a domestic violence
  charge); United States v. Tsarnaev, 53 F. Supp. 3d 450, 458 (D.
  Mass. 2014) (discussing evidence obtained from a camera installed
  in a Macy's department store). The attempted distinction, in any
  event, misses the point Carpenter was making.
            Similarly, "security cameras" are not exclusively owned
  by private parties; they are commonly owned by the government and
  are often used for law enforcement purposes. It is not true that
  the government only uses security cameras as if it were acting to
  protect its own proprietary interests. The City of Springfield,
  for example, reports on its website that it operates more than
  forty cameras located throughout the city to "get a real time look
  at resident and business complaints or concerns."        Real Time
  Camera's Assist DPW, City of Springfield (Dec. 24, 2013 7:46 AM),
  https://www.springfield-ma.gov/dpw/index.php?id=cameras.       The
  Massachusetts Bay Transit Authority ("MBTA") has installed
  hundreds of cameras on its buses that live-stream footage to
  central dispatch and MBTA Transit Police officers' cars. Martine


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              In addition, the government argues that Carpenter leaves

  intact the principles Bucci relies on from Supreme Court precedents

  in Katz and Ciraolo.       We agree.     The Supreme Court was clear in

  Carpenter that its decision does not call into question the

  language Bucci cited from Supreme Court precedent in Katz, 389

  U.S. at 351, Ciraolo, 476 U.S. at 213, and Kyllo, 533 U.S. at 31-

  33.   Two of those cases, Katz and Kyllo, were cited repeatedly

  throughout the Court's decision in Carpenter.             Carpenter, 138 S.

  Ct. at 2213-19.     Indeed, Carpenter cited some of the same language

  from Katz that was cited in Bucci.             Id. at 2213 ("the Fourth

  Amendment protects people, not places").

              Nowhere in the Carpenter opinion does the Court suggest

  that any of those cases, or any part of the Court's existing Fourth

  Amendment    framework    involving     the   lack   of   Fourth   Amendment

  protection for places a defendant knowingly exposes to public view,

  has been overruled or modified.         Instead, the opinion was framed

  as "how to apply the Fourth Amendment to a new phenomenon."                Id.




  Powers, New Cameras Keep Watch on MBTA Buses, The Boston Globe
  (Feb. 12, 2014), https://www.bostonglobe.com/metro/2014/02/11/
  begins-installation-bus-security-cameras/Z1QwILHvLb3TgsgOPXa9yM/
  story.html. When these cameras were installed, the Suffolk County
  District Attorney commented that they would be useful both to deter
  crime and to investigate it after it has occurred. Id.
             As said, Carpenter holds that particular surveillance
  technologies, including security cameras, are not called into
  question.    And even if the limitations in Carpenter were only
  dicta, the doctrine of stare decisis would apply. See Santana, 6
  F.3d at 9.


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  at 2216.       In Carpenter, the Court refused to extend the third-

  party doctrine that "a person has no legitimate expectation of

  privacy in information he voluntarily turns over to third parties"

  to long-term monitoring of CSLI.          Id. at 2216 (quoting Smith, 442

  U.S. at 743-44).       It explicitly framed its holding in terms of the

  third-party doctrine, a doctrine not relevant here.                 Id. ("We

  therefore decline to extend Smith and [United States v.] Miller[,

  425 U.S. 435 (1976),] to the collection of CSLI.").                Indeed, it

  specifically criticized Justice Thomas's and Justice Gorsuch's

  dissents for attempting to revisit Katz when neither party asked

  the Court to do so.        Id. at 2214 n.1.

                 The cases cited by Katz, Ciraolo, and Kyllo naturally

  extend    to    the    circumstances   here.    The    defendants    and   the

  concurrence argue that law enforcement's eight-month use of the

  pole     camera   is    distinguishable    because    it   was   particularly

  "unrelenting, 24/7, perfect."          But the Court's existing Fourth

  Amendment case law has already considered and allowed behavior

  that might be described as "unrelenting" and found no violation of

  any reasonable expectation of privacy.         Any home located on a busy

  public street is subject to the unrelenting gaze of passersby, yet

  "[t]he Fourth Amendment protection of the home has never been

  extended to require law enforcement officers to shield their eyes

  when passing by a home on public thoroughfares."                 Ciraolo, 476

  U.S. at 213.


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              Conversely, the Court in Carpenter explained why CSLI is

  different than the information obtained by a public view of a

  particular location, such as from pole cameras.           CSLI "provides an

  all-encompassing record of the [cell phone] holder's whereabouts,"

  id.   at   2217,   "beyond     public    thoroughfares   and    into    private

  residences, doctor's offices, political headquarters, and other

  potentially    revealing     locales,"     id.   at   2218.     There    is   no

  equivalent analogy to what is captured by the pole camera on the

  public street, which is taking images of public views and not more.

  A pole camera does not track the whole of a person's movement over

  time.

              The    Carpenter     Court     reasoned    that    CSLI     creates

  "otherwise unknowable" data and is as comprehensively invasive for

  law enforcement to use "as if it had attached an ankle monitor to

  the phone's user."       Id.     That is not this situation, and pole

  cameras are plainly not an equivalent to CSLI.                The pole camera

  here captured only a small slice of the daily lives of any

  residents, and then only when they were in particular locations

  outside and in full view of the public.          Pole cameras are fixed in

  place and do not move with the person as do cell phones generating

  CSLI.      In many ways, as described earlier, this pole camera




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  captured less information about Moore and Moore-Bush than someone

  on the street could have seen and captured.

  D.    The Language from Supreme Court Cases on Which Bucci Relied
        Requires Reversal of the District Court

              Because they were not altered in Carpenter or any other

  case, the principles in the case law relied on in Bucci continue

  to be good law.       The government argued that the cases cited in

  Bucci have "the most closely on-point holdings" and "provide the

  same support for the conclusion that use of a pole camera is not

  a 'search' that they did when Bucci and cases like it were

  decided."    We agree.     The concurrence is wrong to say that Bucci

  misreads the Supreme Court precedents on which it relies.                   If

  anything, Carpenter reinforces Bucci's reading of these existing

  precedents, and we remain bound by Supreme Court precedent to reach

  the same conclusion this court did when it decided Bucci.                   It

  remains true, as a general matter, that:

              The Fourth Amendment protects people, not
              places.   What a person knowingly exposes to
              the public, even in his own home or office, is
              not a subject of Fourth Amendment protection.
              But what he seeks to preserve as private, even
              in an area accessible to the public, may be
              constitutionally protected.

  Katz, 389 U.S. at 351 (internal citations omitted); see also

  Ciraolo, 476 U.S. at 213 (quoting a portion of the language from

  Katz copied above).




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              The government also argues that nothing in Jones or

  Jardines purports to overrule the rule of Katz and Ciraolo that a

  person does not have a reasonable expectation of privacy in the

  actions he or she exposes to the public view.           Indeed, the majority

  opinions in Jones and Jardines are inapposite because they rely on

  a trespass theory, not a reasonable expectations theory.

              Our    analysis     must    be    "informed     by     historical

  understandings 'of what was deemed an unreasonable search and

  seizure when [the Fourth Amendment] was adopted.'"            Carpenter, 138

  S. Ct. at 2214 (quoting Carroll v. United States, 267 U.S. 132,

  149   (1925)).       Justice    Scalia's     majority    opinion   in    Kyllo

  establishes that, at the time of adoption of the Fourth Amendment,

  "[v]isual surveillance was unquestionably lawful because 'the eye

  cannot by the laws of England be guilty of a trespass.'"                Kyllo,

  533 U.S. at 31-32.        Indeed, Justice Scalia's opinion in Kyllo

  quoted Boyd v. United States, 116 U.S. 616, 628 (1886), which

  itself quoted from English law, Entick v. Carrington, 19 How. St.

  Tr. 1029, 95 Eng. Rep. 807 (K.B. 1765).

              Bucci cited Kyllo.      Bucci, 582 F.3d at 117.        In Kyllo,

  the Court affirmed that "the lawfulness of warrantless visual

  surveillance of a home has still been preserved."           Kyllo, 533 U.S.

  at 32.    By granting Moore-Bush and Moore's suppression motions,

  the district court broke with the original understanding of the

  Fourth Amendment as found by the Supreme Court.


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                Kyllo also aids our analysis in another way.                  The issue

  there concerned "the use of a thermal-imaging device aimed at a

  private home from a public street to detect relative amounts of

  heat within the home."          Id. at 29.     In particular, in holding that

  the   use    of   a   thermal-imaging       device   is   a    search,     the   Court

  distinguished between this uncommon and then new technology and

  technology that is "in general public use."                   Id. at 34.

  E.     No Exception to Stare Decisis Applies for Other Reasons

                Even absent the explicit limiting language in Carpenter,

  Carpenter's       reasoning      does    not   undermine       Bucci's     reasoning.

  Moore-Bush and Moore disagree and make the following argument.

  Bucci rests on what they characterize as a categorical statement:

  "An individual does not have an expectation of privacy in items or

  places he exposes to the public."              Bucci, 582 F.3d at 117 (citing

  Katz, 389 U.S. at 351).                "That legal principle is dispositive

  here."      Id.

                Carpenter, on the other hand, contains the following

  passage that, in the words of the district court, seems "to cabin

  --    if   not    repudiate     --   that   principle":    "A    person     does    not

  surrender all Fourth Amendment protection by venturing into the

  public sphere.        To the contrary, 'what [one] seeks to preserve as

  private,     even     in   an   area    accessible   to    the    public,     may    be

  constitutionally protected.'"               Carpenter, 138 S. Ct. at 2217

  (alteration in original) (quoting Katz, 389 U.S. at 351-52).


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               The   alleged   tension    between    these   two   statements,

  according to the defendants, "offers a sound reason for believing

  that the former panel [in Bucci], in light of fresh developments,

  would change its collective mind," permitting this panel to revise

  otherwise binding horizontal precedent.           Williams, 45 F.3d at 592.

  There is no such reason.

               The referred-to passage from Bucci and the "cabining"

  language from Carpenter both quote from the same decision, Katz.

  And the specific quotes at issue immediately follow one another in

  the opinion.       Katz, 389 U.S. at 351.      It is true that Katz said

  generally, "[w]hat a person knowingly exposes to the public, even

  in his own home or office, is not a subject of Fourth Amendment

  protection."       Id.   It then provided a possible exception to that

  rule: "[b]ut what he seeks to preserve as private, even in an area

  accessible to the public, may be constitutionally protected."              Id.

  Bucci's statement that the general rule "is dispositive here"

  certainly meant that no established exception applied in that case,

  not that no exceptions exist.        Bucci quoted Katz at page 351, and

  the exception was raised in the very next sentence of the opinion

  in Katz.12    Indeed, here, the only images recorded were those of


        12  In a Fed. R. App. P. 28(j) letter, Moore stated that the
  government cited Vega-Rodriguez v. Puerto Rico Telephone Co., 110
  F.3d 174 (1st Cir. 1997), to support the "categorical rule" in
  Bucci that "an individual does not have an expectation of privacy
  in items or places he exposes to the public." The government did
  no such thing. It cited Vega-Rodriguez for the proposition that


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  the front areas of Moore's house, exposed to the view of any member

  of the public.      Defendants clearly did nothing to seek to preserve

  those views as private.

               Moreover, as discussed above, Carpenter did not purport

  to alter Katz as to what constitutes a search when law enforcement

  uses traditional technology.13       Instead, it rooted its analysis in

  existing case law, which was untouched or affirmed in Carpenter.

  Carpenter and Bucci are not in tension for several reasons.                One

  is that they rely on the same case law foundation.               And we note

  that it is up to the Supreme Court, not this court, to address

  arguments    that   anything   in   the   Katz   line   of   cases   has   been

  overruled.    See Rodriguez de Quijas v. Shearson/Am. Express, Inc.,

  490 U.S. 477, 484 (1989) ("[T]he Court of Appeals should . . .

  leav[e] to this Court the prerogative of overruling its own

  decisions.")


  "the mere fact that the observation is accomplished by a video
  camera rather than the naked eye, and recorded on film rather than
  in a supervisor's memory, does not transmogrify a constitutionally
  innocent act into a constitutionally forbidden one." Id. at 181.
  This, too, remains good law.
        13  Further, the district court erred in interpreting
  statements of general law made in a Fourth Amendment case as it
  did.   "Fourth Amendment analysis is renownedly fact specific."
  United States v. Beaudoin, 362 F.3d 60, 70 (1st Cir. 2004), vacated
  on other grounds by Champagne v. United States, 543 U.S. 1102
  (2005). Chief Justice Marshall's warning from almost two centuries
  ago applies here: "It is a maxim not to be disregarded, that
  general expressions, in every opinion, are to be taken in
  connection with the case in which those expressions are used."
  Cohens v. Virginia, 19 U.S. (6 Wheat.) 264, 399 (1821).


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              Nor can any basis for overruling Bucci be found in the

  Carpenter Court's reference to "some basic guideposts" in Fourth

  Amendment    jurisprudence,     including           the   amendment's   goals    of

  "secur[ing] 'the privacies of life' against 'arbitrary power',"

  Carpenter, 138 S. Ct. at 2214 (quoting Boyd, 116 U.S. at 630) and

  "plac[ing]    obstacles    in   the    way     of    a    too   permeating   police

  surveillance," id. (quoting United States v. Di Re, 332 U.S. 581,

  595 (1948)).    These general principles were firmly in place before

  Carpenter (and Bucci) and acknowledged in Carpenter as such.                    Id.

              We agree with the government that nothing in Jones

  undermines the principle from Katz and Ciraolo, repeated in Bucci,

  that a person does not have a reasonable expectation of privacy in

  the actions he or she knowingly exposes to public view.                  No basis

  for revisiting Bucci can be found in Carpenter's noting that five

  justices, in concurrences written by Justice Alito and Justice

  Sotomayor, had agreed in the 2012 case Jones that a GPS tracker

  attached to someone's car could violate someone's expectation of

  privacy in the whole of their physical movements.                     Id. at 2217

  (citing Jones, 565 U.S. at 430 (Alito, J., concurring in judgment);

  id. at 415 (Sotomayor, J., concurring)).                    The Carpenter Court

  reasoned that this would apply with equal force to CSLI.                     But it

  did so by closely analogizing between the two technologies, stating

  that CSLI, like GPS information, "provides an intimate window into




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  a person's life" because it "provides an all-encompassing record

  of the holder's whereabouts."        Carpenter, 138 S. Ct. at 2217.

              As the Sixth Circuit has noted in affirming the denial

  of a motion to suppress evidence obtained from pole cameras, the

  concurrences in Jones are easily distinguished on this point.              The

  concurrences were concerned "that long-term GPS monitoring would

  'secretly monitor and catalogue every single movement," United

  States v. Houston, 813 F.3d 282, 290 (6th Cir. 2016) (quoting

  Jones, 565 U.S. at 430 (Alito, J., concurring in judgment)), and

  "generate[] a precise, comprehensive record of a person's public

  movements," id. (quoting Jones, 565 U.S. at 415 (Sotomayor, J.,

  concurring)).14     Information obtained from pole cameras does not

  give rise to the same concerns.




        14  The Sixth Circuit again rejected this argument in United
  States v. May-Shaw, 955 F.3d 563, 567 (6th Cir. 2020).           In
  addition, several district courts have also considered the issue,
  and they have all found that pole cameras still do not constitute
  a search. See United States v. Fanning, No. 1:18-cr-362-AT-CMS,
  2019 WL 6462830 (N.D. Ga. May 28, 2019); United States v. Gbenedio,
  No. 1:17-CR-430-TWT, 2019 WL 2173994 (N.D. Ga. May 17, 2019);
  United States v. Kelly, No. 17-cr-175-pp, 2019 WL 2137370 (E.D.
  Wis. May 16, 2019); United States v. Harris, No. 17-CR-175, 2019
  WL 2996897 (E.D. Wis. Feb. 19, 2019); United States v. Kubasiak,
  No. 18-CR-120, 2018 WL 6164346 (E.D. Wis. Aug. 23, 2018); United
  States v. Tirado, No. 16-CR-168, 2018 WL 3995901 (E.D. Wis. Aug.
  21, 2018); United States v. Kay, No. 17-CR-16, 2018 WL 3995902
  (E.D. Wis. Aug. 21, 2018); United States v. Tuggle, No. 16-cr-
  20070-JES-JEH, 2018 WL 3631881 (C.D. Ill. July 31, 2018).       The
  Sixth Circuit affirmed the constitutionality of pole cameras after
  the Supreme Court's decision in Jones. See Houston, 813 F.3d 282.


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                  Recently, the Supreme Court in Ramos v. Louisiana had an

  extensive discussion of the role of stare decisis in deciding

  constitutional cases, with various justices laying out their own

  tests for when to overrule precedent.                  Ramos, 140 S. Ct. 1390.

  None of their respective tests suggest that we should understand

  Carpenter        as   having     overruled     or    modified   existing    Fourth

  Amendment precedent so as to put it in tension with our analysis

  in Bucci.

                  The   majority    opinion     in    Ramos,   written   by   Justice

  Gorsuch, states that the Court should consider "the quality of the

  decision's reasoning; its consistency with related decisions;

  legal        developments   since    the     decision;   and    reliance    on   the

  decision."        Id. at 1405 (quoting Franchise Tax Bd. Of Cal. v.

  Hyatt, 139 S. Ct. 1485, 1499 (2019)).15

                  The decisions in Katz v. United States, 389 U.S. 347

  (1967) (Stewart, J.), Smith v. Maryland, 442 U.S. 735 (1979)

  (Blackmun, J.), California v. Ciraolo, 476 U.S. 207 (1986) (Burger,

  C.J.), and Kyllo v. United States, 533 U.S. 27 (2001) (Scalia,

  J.), cannot be called less than high-quality.                As described above,

  nothing before or since those decisions draw into question their

  reasoning.        And law enforcement has substantially relied on these




          15Justice Sotomayor joined this part of the majority's
  opinion, while also filing a concurrence.


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  precedents to deploy surveillance technologies like pole cameras

  in countless criminal investigations.

               In this case, law enforcement officers relied on these

  precedents in deciding not to obtain a warrant for the pole camera,

  both when it was initially installed and later as they continued

  to use the camera over an eight-month period during this major

  drug crime conspiracy investigation.            This was not an example of

  law   enforcement    installing    a   camera    without    even   reasonable

  suspicion.     Before the camera was installed, a CW, acting on the

  government's orders, purchased four guns illegally from Moore-

  Bush, through Dinzey, at Moore's house.            Evidence obtained from

  the pole camera after it was installed was used in successful

  wiretap and search warrant applications starting in July 2017 and

  continuing throughout the fall and winter. Their reliance interest

  is particularly strong here, where evidence obtained after a short

  period of surveillance likely could have supported a warrant

  application and showed the need for continuing surveillance.

               As stressed by the government in their briefing, law

  enforcement's reliance interest is not limited to just this case.

  Pole cameras are often used by law enforcement officers to show

  that they exhausted other investigative techniques before seeking

  a warrant for a more invasive surveillance.                See, e.g., United

  States v. Bregu, 948 F.3d 408, 411 (1st Cir. 2020) (noting that

  pole camera evidence was used to obtain a warrant for cell phone


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  location information); United States v. Figueroa, 501 F. App'x 5,

  6 (1st Cir. 2013) (unpublished) (same for wiretap).                     Indeed, law

  enforcement did so in this case.               As the government has argued,

  affirmance of the district court would call into question other

  surveillance      technologies    that        similarly      have    been    used   for

  decades, which would be in direct conflict with the Supreme Court's

  statement    in    Carpenter    that     it    did     not    call   into    question

  "conventional surveillance techniques."                Carpenter, 138 S. Ct. at

  2220.   This is particularly true if it were to call into question

  the   use   of    security    cameras,    which      have    long    been    used   for

  continuing surveillance over time and, for the reasons discussed

  above, are hard to distinguish from pole cameras.                    It is hardly an

  answer to these reliance concerns to say that law enforcement can

  no longer rely on clear Supreme Court precedent and First Circuit

  precedent in Bucci and must take refuge in the good faith doctrine,

  as the concurrence suggests.

              Although    the    court     in    Ramos    overruled      the   relevant

  precedent in that case, Apodaca v. Oregon, 25 U.S. 404 (1972)

  (plurality opinion), it did so because Apodaca was "unusual" in

  the way the opinions were divided 4-1-4.                     Ramos, 140 S. Ct. at

  1399 (quoting McDonald v. Chicago, 561 U.S. 742, 766 n.14 (2010)).

  We note that, of all the cases that stand for the proposition that

  there is no objective privacy interest in what is exposed to public

  view, none were similarly divided.


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              The dissent in Ramos was even more concerned with the

  harm of upsetting reliance interests than the majority was.                   Id.

  at 1436-39 (Alito, J., dissenting).            In particular, it highlighted

  the state's interest in the finality of its verdicts and warned of

  a    "potential   tsunami   of   litigation"      following   the    majority's

  ruling.     Id. at 1436.         If we were to interpret Carpenter as

  overruling part of the Court's existing Fourth Amendment legal

  framework, it would raise the same concerns.

              Justice    Kavanaugh's      partial    concurrence      lays   out   a

  three-part test for when to overrule precedent: if the precedent

  is    "egregiously    wrong";    it   has   "caused   significant      negative

  jurisprudential or real-world consequences"; and "overruling the

  prior decision [would] unduly upset reliance interests."                   Id. at

  1414-15.     Again, there is nothing to suggest that any of the

  Supreme Court cases relied on by Bucci are wrong, let alone

  "egregiously wrong."         Pole cameras are commonly used by law

  enforcement and, particularly in their current iteration, have not

  had     significant    negative       real-world      consequences.           The

  government's reliance interest in the sustained use of the pole

  camera was significant.      Had the government been put on any notice

  that it needed to obtain a warrant to continue surveillance, it




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  likely would have sought and obtained a warrant early on based on

  the new evidence the camera revealed.16

              The district court's view of Carpenter also conflicts

  with other binding First Circuit precedent. This court has already

  rejected the proposition that Carpenter produced "a sea change in

  the law of reasonable expectation of privacy," United States v.

  Morel, 922 F.3d 1, 8 (1st Cir. 2019), and consequently, that

  argument also cannot provide a basis.          In United States v. López,

  890 F.3d 332, 340 (1st Cir. 2018), this court declined to invoke

  the second exception where we had already rejected a party's

  interpretation of Supreme Court case law in an unpublished opinion.

              Finally, this court has never found the second exception

  to the law of the circuit to be permissible in the face of such

  explicit commands from the Supreme Court.             To the contrary, we

  have declined to apply the exception where the Supreme Court

  explicitly narrowed its holding.          See Wallace v. Reno, 194 F.3d

  279, 281 (1st Cir. 1999) ("Although this provision might appear to

  channel judicial intervention in all deportation matters to the


        16  Justice Thomas's opinion concurring in the judgment
  noted his disagreement with "the Court's typical formulation of
  the stare decisis standard . . . because it elevates demonstrably
  erroneous decisions -- meaning decisions outside of the realm of
  permissible interpretation -- over the text of the Constitution
  and other duly enacted federal law." Ramos, 140 S. Ct. at 1421
  (quoting Gamble v. United States, 139 S. Ct. 1960, 1981 (2019)
  (Thomas, J., concurring in judgment)).        Again, there is no
  indication that any of the existing Fourth Amendment cases relevant
  here were wrongly decided.


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  court of appeals, the Supreme Court concluded that section 242(g)

  governed only three specific decisions by the Attorney General

  . . . .").

                                       III.

               We reverse and remand with instruction to deny the

  motions to suppress.




                        -Concurring Opinion Follows-




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              BARRON, Circuit Judge, concurring in the judgment.                       When

  a catcher flashes the sign for a fastball rather than a curve, he

  takes the risk that the runner on second will tip off the batter

  to the pitch that's coming. But, while that runner's sign stealing

  breaks no rules, his team's does if it involves hiding a high-

  resolution video camera with zooming capacity behind the wall in

  center field, recording every move that the opposing catcher makes

  behind the plate, and using that video log to keep hitters in the

  know for all nine innings.       See Statement of the Commissioner from

  Robert D. Manfred, Jr., Commissioner of Baseball, Major League

  Baseball     (Jan.     13,      2020),      https://img.mlbstatic.com/mlb-

  images/image/upload/mlb/cglrhmlrwwbkacty27l7.pdf.

              The    defendants    in      this     case       share    Major        League

  Baseball's intuition that expectations of privacy are not merely

  the residue of technological capacity.                 They ask us to be guided

  by it, however, for a more consequential purpose than setting the

  rules for America's pastime.          They ask us to rely on it to find

  that the Fourth Amendment of the United States Constitution bars

  law    enforcement's      warrantless       and        suspicionless          use     of

  surreptitious, unrelenting remote-control video surveillance of

  the entryways of private residences.

              The    defendants    concede        that    --    at     least    to    some

  significant extent -- both their home's side entrance and its

  garage   were     knowingly   exposed      to    public       view.      They       thus


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  acknowledge that they knowingly took the risk of exposing their

  comings and goings to and from their home to the equivalent of the

  runner on second -- whether an undercover detective in the bushes

  across the street or a neighbor walking his dog.

               But,   the    defendants      contend,     law    enforcement's

  warrantless use of a remotely controlled video camera stealthily

  affixed to a neighborhood utility pole, supplying a live feed to

  the station house, and trained on those parts of their residence

  without   relent    for   eight   months    still   interfered   with   their

  reasonable expectations of privacy.           And, for that reason, they

  contend, it still constituted a search that violated the Fourth

  Amendment.

               For most of our nation's history, the most vigilant

  voyeur could not replicate this kind of surveillance of the

  concededly observable but often intimate daily activities of life

  that occur so close to home.           For that reason, the defendants

  contend, society should be prepared to accept the legitimacy of

  their expectation of privacy in them, even though their unblinking

  and ceaseless electronic monitoring is now possible.              Otherwise,

  the defendants -- like the amici -- warn that, given the pace of

  innovation, law enforcement will have license to conduct a degree

  of unchecked criminal investigatory surveillance that the Fourth

  Amendment could not possibly have been intended to allow.             See Br.

  for The Center for Democracy & Technology at 19-25 (describing how


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  technological advances, such as facial recognition software and

  rapid search capabilities, will enable pole cameras, and thereby

  law   enforcement,     to   be    more   intrusive      and    efficient    in   the

  immediate future).

              Based on this concern, the District Court ruled that the

  government's       continuous,       unmanned,      and       warrantless    video

  surveillance of the defendants' movements in and out of their

  residence    did   interfere      with   their    reasonable      expectation     of

  privacy.    For that reason, it granted the defendants' motions to

  suppress    all    evidence      traceable   to   the     pole   camera,    as   the

  government had offered no reason for concluding that, insofar as

  its use constituted a search, it was a constitutional one.

              The government's appeal from that ruling raises the two

  distinct questions that the majority's opinion addresses.                        The

  first is whether one of our own precedents from 2009, United States

  v. Bucci, 582 F.3d 108 (1st Cir. 2009), requires that we reverse

  the District Court and accept the government's contention that the

  video surveillance at issue here did not violate the defendants'

  reasonable expectation of privacy and thus did not constitute a

  search for Fourth Amendment purposes.             The second is whether, even

  if Bucci does not compel that outcome, we are nonetheless bound to

  reach it as a matter of stare decisis, due to the United States

  Supreme Court's post-Bucci decision in Carpenter v. United States,

  138 S. Ct. 2206 (2018).


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              I agree with my colleagues' conclusion that Bucci, per

  the    law-of-the-circuit     doctrine,      stands   in    the   way     of    the

  defendants' contention that the surveillance here amounted to a

  search.    I do not agree, however, with my colleagues' further

  suggestion that Carpenter not only prevents us, as a panel, from

  concluding that Bucci called it wrong, but also requires us, as a

  Circuit, to conclude that Bucci called it right.

              If that were so, then Bucci's one-paragraph analysis of

  this    constitutional      issue   would     suffice      as   our     Circuit's

  explanation    for   why,    seemingly,      whole    neighborhoods       may   be

  subjected to this type of warrantless surveillance without law

  enforcement first having to offer up so much as an articulable

  suspicion that it will turn up evidence of a crime.                   In my view,

  Carpenter is better read to be but the Supreme Court's latest sign

  that we must be more attentive than Bucci was in its brief

  discussion of the Fourth Amendment to the risk that new technology

  poses even to those "privacies of life" that are not wholly

  shielded from public view.       Carpenter, 138 S. Ct. at 2214 (quoting

  Boyd v. United States, 116 U.S. 616, 630 (1886)).                 And, because

  that sign is one that we are obliged to steal, I thus read

  Carpenter, if anything, only to underscore the need for us to

  reconsider Bucci en banc.




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                                        I.

              Bucci held that the use of a video pole camera pointed

  at the front door of the defendant's home for eight months was not

  a search because such surveillance did not interfere with any

  objectively reasonable expectation of privacy that the defendant

  had.      See 582 F.3d at 116-17.            Under the law-of-the-circuit

  doctrine, that no-search ruling controls the outcome for us here

  unless:     (1) it   "is   contradicted       by    subsequent   controlling

  authority, such as a decision by the Supreme Court, an en banc

  decision of the originating court, or a statutory overruling,"

  United States v. Barbosa, 896 F.3d 60, 74 (1st Cir. 2018) (citing

  United States v. Rodríguez, 527 F.3d 221, 225 (1st Cir. 2008)),

  cert. denied, 139 S. Ct. 579 (2018); or (2) "authority that

  postdates     the    original      decision,       although   not    directly

  controlling, nevertheless offers a sound reason for believing that

  the former panel, in light of fresh developments, would change its

  collective mind," id. (citing Williams v. Ashland Eng'g Co., 45

  F.3d 588, 592 (1st Cir. 1995)).

              The defendants respond that Bucci rested on a single

  "legal    principle"   that   it   deemed     to   be   "dispositive":     "An

  individual does not have an expectation of privacy in items or

  places he exposes to the public."          582 F.3d at 117 (citing Katz v.

  United States, 389 U.S. 347, 351 (1967) ("[T]he Fourth Amendment

  protects people, not places.         What a person knowingly exposes to


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  the public, even in his own home or office, is not a subject of

  Fourth Amendment protection.")).           But, the defendants go on to

  point out, Carpenter, which held that the government's subpoena of

  the cell-site location records of a defendant from his cell phone

  carrier constituted a "search" subject to the Fourth Amendment,

  explained that "[a] person does not surrender all Fourth Amendment

  protection by venturing into the public sphere."              138 S. Ct. at

  2217.    And, the defendants then note, even though the target of

  the "surveillance" in Carpenter had not taken explicit steps to

  "preserve" that information "as private," id. (quoting Katz, 389

  U.S. at 351), the Court held that he had a reasonable expectation

  of privacy in it in part because "society's expectation has been

  that law enforcement agents and others would not -- and indeed, in

  the main, simply could not -- secretly monitor and catalogue" such

  information, id. (quoting United States v. Jones, 565 U.S. 400,

  430 (2012) (Alito, J., concurring in judgment)).

              The   defendants     contend    that    these    passages     from

  Carpenter give a "new gloss," Rodríguez, 527 F.3d at 222, to the

  single legal principle on which Bucci claimed to have relied, such

  that we must conclude that the panel in that case now "would change

  its collective mind," id. at 225 (quoting Williams, 45 F.3d at

  592).   They thus argue that, as the District Court held, Carpenter

  at least triggers the second exception to the law-of-the-circuit

  doctrine.


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               I am not persuaded that Carpenter strips Bucci of its

  precedential force, given the differing factual contexts in which

  the two cases arise.          See Williams, 45 F.3d at 592 (noting that

  the    second     exception         "pertains      to     . . .        relatively       rare

  instances").      In Bucci, the defendant's movements all occurred on

  his own property.           Yet, the panel there explained, he had not

  shielded that property from outside prying eyes by, say, erecting

  a privacy fence or planting a tree.                     582 F.3d at 116-17.              The

  "surveillance"        at    issue    in    Carpenter,       however,       was    of     the

  defendant's movements all over town and thus in places over which

  he had no control akin to that of the defendant in Bucci.                                See

  Carpenter, 138 S. Ct. at 2218.               That meant that those movements

  occurred where the target of the "surveillance" could not undertake

  the kinds of countermeasures that Bucci highlighted. Thus, because

  Carpenter did not have any occasion to address whether the failure

  to take them might bear on the reasonableness of one's expectation

  of privacy in going in and out of one's own home, I cannot say

  that   we,   as   a   panel,      are     free   to     disregard      Bucci     based    on

  Carpenter.

               Still,    it    is     important      to    keep     in    mind     that    the

  law-of-the-circuit doctrine provides an orderly means by which a

  Circuit may operate through panels until it collectively decides

  that its precedent requires revision through the en banc process.

  I thus think it is important to explain my disagreement with the


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  additional suggestion that my colleagues make, which is that Bucci

  controls not just this panel but our Court because Carpenter -- far

  from casting doubt on Bucci -- "reaffirms" what it held.             Maj. Op.

  at 22.    For, in making that contention, my colleagues necessarily

  conclude not merely that our panel must accept a prior panel's

  holding, but also that our Circuit must do so because the Supreme

  Court has held the same.

                                        II.

                 In making that additional holding, my colleagues point

  first     to     the   fact   that   Carpenter     "explicitly     protect[s]

  conventional surveillance techniques."           Maj. Op. at 22.     But, I do

  not read that statement in Carpenter to affirm Bucci.

                 Carpenter did describe the acquisition of the cell-site

  location records at issue in that case as having been enabled by

  "modern        cell    phones,"   which,      unlike   predecessor    phones,

  "generate[] increasingly vast amounts of increasingly precise"

  cell-site location information.            138 S. Ct. at 2212.     It is also

  true that, as my colleagues note, published cases involving the

  use of video pole camera surveillance date back to the late 1980s.

  See United States v. Cuevas-Sanchez, 821 F.2d 248, 250-51 (5th

  Cir. 1987) (finding that law enforcement's use of a video pole

  camera to surveil the backyard of a home protected by a ten-foot-

  high privacy fence was a Fourth Amendment search).




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              But, the first commercial cell-site tower was erected

  years   before     the    first    opinions       about    video        pole     camera

  surveillance that my colleagues highlight were issued, see Jon

  Van,    Chicago    goes     cellular,      Chi.    Trib.        (June    3,      2008),

  http://www.chicagotribune.com/nation-world/chi-chicagodays-cellu

  lar-story-story.html, and the use of locational records from those

  towers by law enforcement began at least as early as 2001, see

  United States v. Forest, 355 F.3d 942 (6th Cir. 2004), vacated sub

  nom. Garner v. United States, 543 U.S. 1100 (2005).                     I doubt that

  Carpenter meant to embrace a construction of the Fourth Amendment

  that would cast doubt on law enforcement's use of sophisticated

  technologies to conduct surveillance if they emerged just over a

  decade after the bicentennial of the Constitution but endorse them

  if they occurred on its eve.            Thus, in referring to "conventional

  surveillance techniques and tools," Carpenter, 138 S. Ct. at 2220,

  I do not understand the Court to have signaled that it had in mind

  even a quite contemporary variant of the stakeout rather than

  simply its age-old predecessor.

              My colleagues also rightly point out, however, that

  Carpenter    expressly     names    "security       cameras"       as    a     type   of

  "conventional"     surveillance         tool,    Maj.     Op.    at     24     (quoting

  Carpenter, 138 S. Ct. at 2220), and they contend that video pole

  cameras like the one used here "are easily thought" of as "security

  cameras,"    id.   at    3-4.     For    that    reason,    they      conclude     that


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  Carpenter made clear, in this one brief passage, that it did have

  the kind of surveillance that Bucci confronted -- and that we

  confront here -- very much in mind.

               But, "security camera" is hardly the only way -- or even

  the most natural way -- to describe a pole camera like the one at

  issue either in Bucci or this case.                Conventional "security

  cameras" are typically deployed by property owners to keep watch

  over their own surroundings, not as a law enforcement tool for

  conducting a criminal investigation by peering into property owned

  by others.    In fact, that Carpenter had only "security cameras" of

  the former ilk in mind would appear to be evidenced by the

  opinion's choice to make its one reference to them in the very

  same sentence that clarifies that the Court "do[es] not disturb"

  the case law that addresses a person's expectation of privacy in

  information voluntarily handed over to third parties, 138 S. Ct.

  at 2220 (discussing United States v. Miller, 425 U.S. 435 (1976)

  and Smith v. Maryland, 442 U.S. 735 (1979)).                  The following

  sentence -- in which the Court explained that the opinion also was

  not "address[ing] other business records that might incidentally

  reveal location information," id. (emphasis added) -- further

  supports the conclusion that the Court was referencing "security

  cameras" as a "business" record, rather than as a tool deployed by

  law enforcement to conduct criminal investigations by surveilling

  the comings and goings on the thresholds of private homes.                And,


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  consistent with this same understanding, the government itself

  explains in its briefing to us that "a 'security camera' is

  typically a private recording system that law enforcement would

  access under the third-party doctrine."

              That a governmental entity intent on protecting its own

  property -- such as a municipal transit authority watching over

  its tracks and trains -- may employ such video surveillance in the

  same manner as a private business owner is of no moment for

  purposes of construing this aspect of Carpenter.              We may assume

  that Carpenter meant to treat the government in its role as

  property owner no differently from a private business with respect

  to the use of security cameras for purposes of monitoring places

  under its control.      For, even with that assumption in place, I do

  not see how Carpenter's reference to "security cameras" is best

  read impliedly to bless a police department's warrantless and

  suspicionless use of a video pole camera continuously and secretly

  to surveil the entryways of a private home in an effort to make a

  criminal case rather than merely to keep watch over its own parking

  lots or station houses as a standard safety precaution that

  property owners now routinely take.

              Of   course,     even     security   cameras    used    in    this

  conventional manner by private businesses to keep watch over their

  own   surroundings     --   or   by    governmental   entities     to    patrol

  theirs -- may, in certain instances, pick up images of ordinary


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  people on a public sidewalk or street. They might even, in certain

  cityscapes, capture people going in and out of their residences,

  depending on how the camera is aimed.

              But, the fact that such cameras -- to say nothing of

  cell phones -- capture more and more of the publicly visible spaces

  that we find ourselves in hardly suggests to me that Carpenter's

  reference to "security cameras" is properly read to be a holding

  that no one now has a reasonable expectation of privacy in their

  presence in any place in public view that some other property

  owner -- whether private or public -- might incidentally record.

  And, that being so, I cannot see how Carpenter may be read to go

  even a step further and to hold -- by virtue of its reference to

  "security cameras" -- that the months-long, uninterrupted video

  surveillance of the activities surrounding one's home by law

  enforcement invades no privacy expectation that society should be

  prepared to accept.      In fact, I note that Carpenter said nothing

  about security camera footage of someone else's home, let alone

  about such footage when it is picked up not in passing by another

  property owner's camera, but by law enforcement's use of one for

  months for the dedicated purpose of capturing every moment of what

  transpires in the curtilage of that residence.17


        17The government is no ordinary property owner, of course,
  given the kinds of property that it controls. As my colleagues
  note, for example, the City of Springfield, Massachusetts uses its
  cameras to monitor for "[t]raffic light configurations,"


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              For these reasons, I do not read Carpenter to have had

  law enforcement's use of video pole cameras like the one at issue

  here in mind when it expressly identified the categorical limit on

  its holding that my colleagues highlight.            Insofar as there is any

  doubt on that score, moreover, it is entirely proper for us, as

  circuit judges, not to assume that the Court coyly made such a

  far-reaching and never-before-announced holding.                And that is

  especially the case when, to do so, we would have to conclude that

  the Court made it implicitly and in passing in the course of an

  opinion that otherwise makes such a point of highlighting the

  constitutional     concerns     raised    by   law     enforcement's    ever-

  increasing capacity to engage in the perfect surveillance of


  "[t]raffic backups," "[r]oad closures," "[c]onstruction projects,"
  "[s]now plow progress," and "[r]oad conditions," and for
  "get[ting] a real time look" when responding to "resident and
  business complaints."    Real Time Camera's assist DPW, City of
  Springfield (Dec. 24, 2013 7:46 AM), https://www.springfield-
  ma.gov/dpw/index.php?id=cameras.   The further one gets from the
  traditional private property owner's use of video surveillance to
  keep watch over what they own, however, the less plausible it
  becomes to me to conclude that Carpenter meant blithely to sign
  off on the notion that the government's use of that type of
  surveillance technology for security rather than law enforcement
  necessarily poses no threat to individual expectations of privacy
  or that such use, in and of itself, renders any such expectation
  of privacy in even one's comings and goings to and from one's own
  home unreasonable, if such expectation is asserted to support a
  contention that the continuous surveillance of those activities by
  a government "security camera" constitutes a search. The reductio
  of this observation makes the point well enough. See, e.g., Paul
  Mozur & Aaron Krolik, A Surveillance Net Blankets China's Cities,
  Giving Police Vast Powers, N.Y. Times (Dec. 17, 2019),
  https://www.nytimes.com/2019/12/17/technology/china-surveillance
  .html.


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  activities that, in a lower-tech world, were clothed in practical

  anonymity.     Thus, in my view, Carpenter's important caveat that

  its holding does not "call into question conventional surveillance

  techniques and tools, such as security cameras," 138 S. Ct. at

  2220, has no bearing on the question before us.

                                       III.

               There does remain the fact that my colleagues find that

  Carpenter "leaves intact" the case law on which Bucci relied, Maj.

  Op. at 26, and I agree with them that this body of precedent does

  hold   that,   at   least   ordinarily,     a   person   has   no   reasonable

  expectation of privacy in the activities in which they knowingly

  engage in public view.         Carpenter is a self-avowedly "narrow"

  ruling, 138 S. Ct. at 2220, and it is important that we not read

  it to be more disruptive than it inherently is.

               But, that same body of precedent, which I agree Carpenter

  did not overturn, also contains -- quite expressly -- important

  strands that qualify the proposition on which Bucci relied on it

  for about the extent of our expectations of privacy in public.

  And, because Carpenter, in my view, is best read to draw out those

  very strands from those well-settled precedents, I do not read it

  to affirm Bucci simply because it does not call into question

  several of the key cases on which Bucci relied.                Rather, I read

  Carpenter at least to raise the question whether Bucci read those

  cases -- which we continue to be bound to follow -- correctly in


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  concluding     that   they    afforded    so   little    Fourth    Amendment

  protection to the defendant in that case.

              For example, Carpenter does reaffirm Katz, on which

  Bucci relied, just as my colleagues assert. Indeed, Bucci supports

  the conclusion that "[a]n individual does not have an expectation

  of privacy in items or places he exposes to the public,"             582 F.3d

  at 117, by quoting these two sentences from Katz:              "[T]he Fourth

  Amendment protects people, not places.            What a person knowingly

  exposes to the public, even in his own home or office, is not a

  subject of Fourth Amendment protection."                Id. (alteration in

  original) (quoting Katz, 389 U.S. at 351).

              But, immediately following those two sentences, Katz

  also includes a critical third sentence that Bucci did not mention:

  "But what [a person] seeks to preserve as private, even in an area

  accessible to the public, may be constitutionally protected."              389

  U.S. at 351.    And, notably, it is this omitted third sentence from

  Katz that Carpenter relied on to conclude that "[a] person does

  not surrender all Fourth Amendment protection by venturing into

  the public sphere," 138 S. Ct. at 2217, in the course of holding

  that law enforcement's use of technology to surveil a person can,

  even when that person is in public, invade a reasonable expectation

  of privacy, id.; see also id. (noting that a "majority of this

  Court has already recognized that individuals have a reasonable

  expectation of privacy in the whole of their physical movements,"


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  even when those movements are in public (citing Jones, 565 U.S. at

  430 (Alito, J., concurring in judgment); id. at 415 (Sotomayor,

  J., concurring))).

              Bucci also cited, as my colleagues note, the portion of

  California v. Ciraolo, 476 U.S. 207 (1986), which, citing Katz,

  explained that the "[t]he Fourth Amendment protection of the home

  has never been extended to require law enforcement officers to

  shield their eyes when passing by a home on public thoroughfares."

  Id. at 213; see Bucci, 582 F.3d at 117.             And, as my colleagues

  note, Carpenter left Ciraolo no less intact than it left Katz.

              But, here, too, it is hard to see how Carpenter could be

  thought thereby impliedly to have endorsed Bucci's sweeping notion

  that one lacks a reasonable expectation of privacy in places that

  one exposes to public view.         Ciraolo held that a plane carrying

  law enforcement could conduct an aerial observation of a backyard

  at a height of 1000 feet, and thus it did not address unrelenting

  surveillance.     476 U.S. at 213.      Moreover, the opinion repeatedly

  states -- in passages that Bucci did not cite -- that it upheld

  only "naked-eye observation."         Id. at 213; see also id. at 210,

  212 n.1, 213, 215.       For these reasons, I do not read Ciraolo to

  endorse the idea that the necessarily fleeting gaze of a single

  passerby    --   even   if   aggregated     with   the    similarly    casual

  observations of other flaneurs -- somehow equates to electronic




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  surveillance of the more systematic and unrelenting kind that Bucci

  confronted.

              Finally, Bucci cited to the Supreme Court's decision in

  Kyllo v. United States, 533 U.S. 27 (2001), in explaining that the

  Court    had   "not[ed]    [the]    lawfulness     of    unenhanced     visual

  surveillance of a home."       582 F.3d at 117.     In doing so, Kyllo did

  emphasize, as my colleagues rightly note, that when the Fourth

  Amendment was adopted, "[v]isual surveillance was unquestionably

  lawful because 'the eye cannot by the laws of England be guilty of

  a trespass.'"     533 U.S. at 31-32 (quoting Boyd, 116 U.S. at 628).

  And, as my colleagues also rightly note, Carpenter itself invoked

  and affirmed Kyllo.

              But, Bucci did not address Kyllo's admonitions to courts

  to   "assure[]    preservation     of   that   degree   of   privacy   against

  government that existed when the Fourth Amendment was adopted,"

  533 U.S. at 34, and not to leave privacy -- and particularly

  privacy of the home -- "at the mercy of advancing technology," id.

  at 35.    Yet, Carpenter quoted and relied on this very portion of

  Kyllo, 138 S. Ct. at 2214, and went on to explain that "[p]rior to

  the digital age, law enforcement might have pursued a suspect for

  a brief stretch but doing so 'for any extended period of time was

  difficult and costly and therefore rarely undertaken,'" id. at

  2217 (quoting Jones, 565 U.S. at 429 (Alito, J., concurring in

  judgment)).      Thus, Bucci did not address the practical fact that


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  Carpenter suggests, based in part on Kyllo, might well matter most

  in a case involving sustained surveillance over many months by a

  video pole camera -- that it would be highly unlikely that law

  enforcement officers could sit outside a home without being spotted

  and observe and catalog every activity that occurred over every

  moment of that period of time.

              Nor, I should add, did Bucci address Kyllo's statement

  that,   even    if     "the   technology   used    in   the   present   case    was

  relatively crude, the rule we adopt must take account of more

  sophisticated systems that are already in use or in development."

  533 U.S. at 36.         Yet, Carpenter quoted and affirmed that precise

  instruction, 138 S. Ct. at 2218-19, which is particularly pertinent

  to this type of surveillance, given the pace of technological

  innovation when it comes to video, see Br. for The American Civil

  Liberties      Union    and    The   American     Civil   Liberties     Union    of

  Massachusetts at 19 (discussing a camera installed at Boston Logan

  International Airport around ten years ago that, from 150 meters

  away, can see any object as small as a centimeter-and-a-half wide);

  see also Br. for The Center for Democracy & Technology at 19-25

  (explaining that camera technology that could be applied to pole

  cameras in the future allows law enforcement to clandestinely

  observe small details with great accuracy and that video analytic

  software enables the rapid and targeted search of volumes of

  information, as well as provides facial recognition capabilities).


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              Given the portions of Katz, Ciraolo, and Kyllo that Bucci

  did not address, and the light that Carpenter shines on those

  portions, there is reason to question, then, whether Bucci was

  right to read those cases to support the conclusion that it reached

  rather   than   to   require    the   opposite    one.     Thus,    while   my

  colleagues' discussion of stare decisis and the fact that Carpenter

  did not overrule Katz, Ciraolo, and Kyllo is indisputably correct,

  it is also, in my view, of no consequence to any question that we

  must answer.      If Bucci is wrong, it is not because Carpenter

  rejects the Supreme Court precedents on which Bucci relied.                 If

  Bucci is wrong, it is because Carpenter confirms -- by making it

  even clearer in retrospect than it already was -- that Bucci

  misapplied those precedents from the get-go, by failing to give

  any apparent weight to those aspects of them that pointed against

  its conclusion.

              To the extent that my colleagues' stare decisis concerns

  are instead meant to provide a reason for us not to reconsider

  Bucci en banc because it is precedent within this Circuit, I cannot

  agree.    One of the functions of reconsidering our precedent en

  banc is to ensure that our Court's precedent accords with the

  understandings of the Supreme Court.          See Fed. R. App. P. 35.       We

  thus honor the doctrine of stare decisis -- rather than flout

  it -- when, as a Circuit, we reconsider our own panel opinions to




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  ensure that they align with those of the Supreme Court, past and

  present.

                                             IV.

              I   do   not   mean   to       suggest      from   this   comparison    of

  Carpenter's treatment of Katz, Ciraolo, and Kyllo to Bucci's

  treatment of them that Bucci has been stripped of its power to

  bind this panel by Carpenter's gloss on them.                    As I have already

  emphasized, Bucci focused on the lack of "fences, gates, or

  shrubbery" protecting the defendant's home.                    582 F.3d at 116.     In

  doing so, it identified a factor that arguably bears on the

  reasonableness of the defendant's expectation of privacy from the

  surveillance that he faced that the surveillance of the defendant

  in Carpenter simply did not implicate.                  Thus, I do not see how our

  panel may read Carpenter to free us from adhering to that prior

  panel ruling, even if we have doubts about its reasoning.

              Nevertheless,     I     do     want    to    emphasize    that   Bucci's

  treatment of that factor is itself concerning for reasons that are

  independent     of   those   that      I    have     already     given.      For,   in

  highlighting the countermeasures that the defendant there failed

  to take, Bucci gave no apparent consideration to a variety of

  factors, including municipal zoning regulations and homeowner

  association rules, to say nothing of cost, that commonly disable

  a person from erecting barriers to protect against long-term

  surveillance of their residences entryways and garages, and not


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  only in suburban settings.        Thus, Bucci did not consider whether

  one should have an expectation of privacy -- from unrelenting,

  24/7, perfect law enforcement surveillance -- in coming and going

  from one's home, even if for reasons of time, circumstance, local

  laws, or cash there are no hedgerows to protect against such

  surveillance.

                Relatedly, Bucci failed to account adequately, in my

  view, for those precedents that were then in place -- and that

  still are -- that suggested a reason to be particularly concerned

  about the privacy interests that were threatened by the special

  nature   of    the   pole   camera's      target   --   the   immediate   area

  surrounding the home -- given the activities that take place there.

  See U.S. Const. amend. IV (protecting the "[t]he right of the

  people to be secure in their persons, houses, papers, and effects,

  against unreasonable searches and seizures"); Oliver v. United

  States, 466 U.S. 170, 180 (1984) ("[T]he curtilage is the area to

  which extends the intimate activity associated with the 'sanctity

  of a man's home and the privacies of life' and therefore has been

  considered part of home itself for Fourth Amendment purposes."

  (quoting Boyd, 116 U.S. at 630)).          Indeed, in Ciraolo, which Bucci

  did rely on, the Court made a point of emphasizing the concerns

  raised by surveillance of that area, though Bucci did not discuss

  that portion of that opinion.          See Ciraolo, 476 U.S. at 212-13

  ("The    protection    afforded     the     curtilage    is   essentially    a


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  protection of families and personal privacy in an area intimately

  linked to the home, both physically and psychologically, where

  privacy expectations are most heightened.").

               These limitations in Bucci's analysis loom even larger

  than they otherwise might after Carpenter, notwithstanding the

  different kind of surveillance that it addressed.             Carpenter made

  clear that it was concerned that the surveillance tool in that

  case gave law enforcement an "intimate window into a person's life,

  revealing not only his particular movements, but through them his

  'familial,     political,     professional,      religious,     and    sexual

  associations.'"      138 S. Ct. at 2217 (quoting Jones, 565 U.S. at

  415   (Sotomayor,     J.,   concurring)).        Yet,   under    Bucci,    law

  enforcement's warrantless use of a hidden video camera, supplying

  a continuous live but also searchable feed to the station house,

  is permitted without any judicial oversight, seemingly even if

  such a camera is trained on every home in America.               And that is

  so, notwithstanding that the "time-stamped data," Carpenter, 138

  S. Ct. at 2217, that such constant recording creates may include

  real-time images of our children playing outside in our yards, our

  friends coming to meet us where we live, and our guests arriving

  for gatherings of a religious or political nature, to mention only

  those of life's privacies around the home that are least likely to

  cause us embarrassment or even shame.




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              So, while I do not read Carpenter to permit us, as a

  panel, to disregard Bucci, I do, for these reasons, too, read

  Carpenter to underscore the need for us to reconsider Bucci as a

  Court.    Nor do concerns about reliance interests -- which matter

  greatly in the stare decisis calculus -- provide a reason, in my

  view, for us to be so wary of shifting course from Bucci that we

  must stand by it even if it is wrong.          It is never too late for a

  Circuit to ensure that its own precedents align with those of the

  Supreme Court, and the government's reliance interests in our own

  prior precedent here are not strong.

              In the event that we were to overrule Bucci en banc, the

  good faith exception to the exclusionary rule, see Davis v. United

  States, 564 U.S. 229, 232 (2011); cf. United States v. Leon, 468

  U.S. 897, 920-22 (1984) -- which the District Court happened to

  have found that the government waived in this case -- would likely

  provide all the protection that the government would need from

  challenges to its use of such video pole cameras during the period

  when Bucci was good law.       There is thus no tidal wave of backward-

  looking litigation in the offing as there may be in some cases.

              The reliance interest that the government has in the

  future use of such surveillance, moreover, is, as best I can tell,

  nonexistent.      The government had decades of experience using

  eavesdropping technology without a warrant prior to the Supreme

  Court's decision in Katz.       See Goldman v. United States, 316 U.S.


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  129, 135 (1942) (upholding the warrantless use of a detectaphone);

  Olmstead v. United States, 277 U.S. 438, 470 (1928) (upholding

  warrantless wiretapping). But, that did not stop the Supreme Court

  from holding that such a practice violated the Fourth Amendment

  once it concluded that it did.         See Katz, 389 U.S. at 359.         That

  a means of surveillance might have provided useful evidence in the

  past   cannot     create   a   going-forward     reliance    interest     that

  insulates its deployment from constitutional challenge in the

  future.

                                         V.

              I close with one final observation.         Our Circuit, not so

  long ago, confronted a question as to whether to adopt an approach

  to the Fourth Amendment that would be attuned to the threats to

  privacy posed by new technological realities despite the absence

  of precedent compelling us to do so.          See United States v. Wurie,

  728 F.3d 1 (2013) (considering whether the search-incident-to-

  arrest exception to the warrant requirement allowed officers to

  search a seized cell phone following the defendant's arrest).               We

  opted then to adopt that privacy-protective approach, as we were

  concerned that any other one would "create 'a serious and recurring

  threat to the privacy of countless individuals.'"                 Id. at 14

  (quoting Arizona v. Gant, 565 U.S. 332, 345 (2009)).

              The   following    year,    the   Supreme    Court   upheld    our

  decision.    See Riley v. California, 573 U.S. 373 (2014) (declining


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  to extend the search-incident-to-arrest doctrine to allow law

  enforcement       to   conduct   warrantless    searches    of   modern   cell

  phones).    It did so in the course of emphasizing once again the

  threats    that    technological    advances    pose   to   Fourth   Amendment

  rights.    See id. at 393-95.

              The questions that this case raises strike me as similar

  in kind.     Practical limitations of law enforcement budgets may

  constrain     the      circumstances    in     which   ever-present       video

  surveillance of our homes' entryways by hidden pole cameras zooming

  in on us will occur.        So, too, might democratic objection.          But,

  at present, Congress has placed no legislative limits on law

  enforcement's use of such cameras to investigate crime, even though

  there is no reason to believe that the lack of such legislation is

  a consequence of popular approval of the practice.               We thus have

  no such legislative judgment to grant deference.

              Especially after Carpenter, and what it retrospectively

  confirms about how a prior panel of ours may have misread some of

  the key Supreme Court decisions in this area, we should not approve

  this degree of unchecked law enforcement surveillance based on

  only the more-than-decade-old paragraph of analysis that Bucci

  provides.     The sense of privacy that we take for granted -- even

  when in public -- is, as Carpenter confirms, important to protect.

  But, it bears emphasizing, the decisions that even lower courts

  make about whether to protect it do more than affect the evidence


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  that may be used in particular criminal cases against particular

  defendants      who    have     been     secretly       recorded.           They

  shape -- collectively -- the society in which we live by helping

  to frame the expectations of privacy of even those who are not

  surveilled     about    the   freedom    that    they    enjoy      under   the

  Constitution.

               The awareness that such surveillance is permitted -- and

  that we should all expect that it is -- may do as much to constrain

  our sense of what we are free to do as any actual surveillance.

  It is thus the expectations of privacy that society is prepared to

  accept as legitimate, more than the exclusion of evidence that

  courts order in response to them, that ultimately make it possible

  for people to go about their lives in ways that reflect that our

  society is in practice -- and not just in name -- a free one.

               Accordingly, although I concur in the result that the

  majority reaches, I think it is important to make it clear that I

  do not share the view that it is one that the Supreme Court has

  already approved.      Rather, in my view, the proper course for our

  Court is to use this case to give Bucci fresh consideration en

  banc, so that we may determine for ourselves whether the result

  that it requires is one that the Supreme Court's decisions, from

  Katz to Carpenter, prohibit.18


        18
         There is an issue about how a court could implement this
  expectation of privacy if it depends for its existence on the


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  duration of the surveillance.        But, courts often confront
  durational issues in the context of the Fourth Amendment, see
  Carpenter, 138 S. Ct. at 2217 n.3 (finding that "accessing seven
  days of [cell-site location information] constitutes a Fourth
  Amendment search"); United States v. Knotts, 460 U.S. 276, 283-85
  (1983) (upholding law enforcement's use of a device to track a
  vehicle for a single car trip but cautioning that "different
  constitutional principles may be applicable" if technology allowed
  for "twenty-four hour surveillance of any citizen of this country
  . . . without judicial knowledge or supervision"); cf. United
  States v. Sharpe, 470 U.S. 675, 685 (1985) (explaining that, in
  considering an investigative stop under Terry v. Ohio, 392 U.S. 1
  (1968), there is "no rigid time limitation" and there may be
  "difficult    line-drawing    problems    in   distinguishing   an
  investigative stop from a de facto arrest"), so that difficulty
  does not strike me as a dispositive one. Similarly, there is an
  issue whether there may be limitations short of the requirement to
  obtain a warrant or to show probable cause that would ensure that
  the use of a pole camera like this one is not "unreasonable." U.S.
  Const. amend. IV (protecting the "[t]he right of the people to be
  secure in their persons, houses, papers, and effects, against
  unreasonable searches and seizures"); cf. Commonwealth v.
  McCarthy, 142 N.E.3d 1090, 1110 (Mass. 2020) (Gants, C.J.,
  concurring) (addressing the standards for permitting law
  enforcement's use of a searchable database of license plates).
  But, that question only arises if Bucci's no-search holding no
  longer binds.


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